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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 IN RE APPLICATION OF USA PURSUANT                     ML No. 19-684
 TO 18 U.S.C. 3512 FOR 2703(d) ORDER FOR
 ONE INTERNET PROTOCOL ADDRESS
 SERVICED BY SOFTLAYER
 TECHNOLOGIES, INC.



                                             ORDER

       The United States has submitted an amended application pursuant to 18 U.S.C.

§§ 2703(d) and 3512(a), and the Treaty Between the United States of America and the Swiss

Confederation on Mutual Assistance in Criminal Matters, Switz.-U.S., May 25, 1973, 27 U.S.T.

2019, requesting that the Court issue an Order requiring SoftLayer Technologies, Inc.

(“PROVIDER”), an electronic communication service and/or a remote computing service

provider located in Plano, Texas, to disclose the records and other information described in

Attachment A to this Order.

       The Court finds that the United States has offered specific and articulable facts showing

that there are reasonable grounds to believe that the records or other information sought are

relevant and material to an ongoing criminal investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. §§ 2703(d) and 3512(a), that

PROVIDER shall, within ten days of receipt of this Order, disclose to the United States the

records and other information described in Attachment A to this Order.
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Date                                                          United States Magistrate Judge
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                                      ATTACHMENT A
I.     The Account(s)

       The Order applies to certain records and information relating to any customer or

subscriber account (“Account(s)”) which was assigned to, connected with, or otherwise using the

Internet Protocol (“IP”) address 159.8.106.194 on December 21, 2017 18:14 +0100 UTC and

any preserved data and/or preservation numbers associated therewith.

II.    Records and other information to be disclosed

       A. Information about the customer or subscriber of the Account(s)

       For each Account that meets the definition in Part I of this Attachment A, SoftLayer

Technologies, Inc. (“PROVIDER”) is required to disclose to the United States the following

records and other information, if available, constituting information about the customer or

subscriber of the Account(s):

           1. Names (including subscriber names, user names, and screen names);

           2. Addresses (including mailing addresses, residential addresses, business addresses,
              and e-mail addresses);

           3. Local and long distance telephone connection records;

           4. Records of session times and durations, and the temporarily assigned network
              addresses (such as IP addresses) associated with those sessions;

           5. Length of service (including start date) and types of service utilized;

           6. Telephone or instrument numbers (including MAC addresses);

           7. Other subscriber numbers or identities (including the registration IP address),
              including any current or past accounts linked to the Account(s) by telephone
              number, recovery or alternate e-mail address, IP address, or other unique device
              or user identifier; and

           8. Means and source of payment for such service (including any credit card or bank
              account number) and billing records.


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       B. All records and other information relating to the Account(s) (except the contents
          of communications)

           PROVIDER is required to disclose to the United States the following records and

other information, if available, for the Account(s) for the time period from December 14, 2017,

to and including December 28, 2017, constituting all records and other information relating to

the Account(s) (except contents of communications), including:


           1. Records of user activity for each connection made to or from the Account(s),
              including log files; messaging logs; the date, time, length, and method of
              connections; data transfer volume; user names; and source and destination IP
              addresses; and

           2. Information about each electronic communication sent or received by the
              Account(s), including the date and time of the communication, the method of
              communication, and the source and destination of the communication (such as
              source and destination e-mail addresses, IP addresses, and telephone numbers),
              and any other associated header or routing information.




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